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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

 Case No. 2:18-cv-01269-JLS-JCG                                     Date: June 11, 2018
 Title: STM Atlantic N.V. et al. v. Dong Yin Development Holdings Limited et al.

 Present: HONORABLE JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

           Terry Guerrero                                           N/A
           Deputy Clerk                                         Court Reporter

     Attorneys Present for Plaintiff:                  Attorneys Present for Defendant:

              Not Present                                         Not Present

 PROCEEDINGS: (IN CHAMBERS) ORDER DENYING GIP’S EX PARTE
              APPLICATION (Doc. 57)

         Before the Court is an Ex Parte Application filed by Interveners Global IP-
 Cayman and Global IP USA (collectively, “GIP”) for a partial stay of the Court’s Order
 on Plaintiffs’ Motion for Judicial Determination. (App. at 2, Doc. 57.) Plaintiffs
 opposed. (Opp., Doc. 58.)
         In the Judicial Determination Order, the Court found that GIP had waived the
 privilege as to the contents of two Memos, namely, the Milbank Memo and the Chen
 Memo. (Judicial Determination Order at 13–17, Doc. 56.) However, the Court denied
 Plaintiffs’ request for a “subject matter waiver,” by which Plaintiffs sought to compel
 disclosure of all communications that had any relation to the subject matter discussed in
 the Memos. (Id. at 18–19.) The Court then ordered all filings unsealed in the instant and
 related actions. 1 (Id. at 20.)
         GIP now argues that a partial stay is warranted because some of the filings
 “publicly reveal[] many of GIP’s internal compliance communications ….” (App. at 4.)
 In support of this argument, GIP identifies only two allegations in the First Amended
 Complaint that it contends are privileged. (Id. at 4, citing ¶¶ 221, 224.)
         However, the Court finds nothing in those paragraphs or otherwise that constitutes
 a privileged communication. Paragraph 221 references notice of a board meeting to
 discuss compliance and paragraph 224 references Plaintiffs’ commission of the Chen

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  Youssefzadeh et al. v. Global IP Cayman et al., 18-cv-02522-JLS.
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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

 Case No. 2:18-cv-01269-JLS-JCG                                     Date: June 11, 2018
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 Memo following the Milbank Memo. (See FAC ¶¶ 221, 224, Doc. 14.) Moreover, the
 documents underlying these and other communications concerning the Memos and/or
 GIP’s internal compliance were filed in redacted form (see, e.g., Ex. 28 at 343, Doc. 29-
 5; Ex. 54 at 554, Doc. 29-5), so the unsealing of those documents will not reveal any
 privileged communications. Therefore, GIP has failed to identify any privileged
 communications that would be revealed by the unsealing of the documents at issue.
        Accordingly, the Application is DENIED.




                                                          Initials of Preparer: tg




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